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                           UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,                         )    Case No. CR-08-344-E-BLW
                                                   )
              Plaintiff,                           )
                                                   )    MEMORANDUM ORDER
 vs.                                               )
                                                   )
 RICHARD HAS THE PIPE,                             )
                                                   )
              Defendant.                           )
                                                   )
                                                   )
                                                   )
                                                   )



       Pending before the Court is Defendant’s Notice of Appeal of Detention Order (Docket
No. 235) and Motion for Release from Custody Pending Sentencing (Docket No. 237). The
Court held a hearing on the appeal and motion for release on May 26, 2010. The Defendant
testified and called his daughter as a witness regarding her need for a kidney transplant. The
Government called United States Deputy Marshal Pete Thompson as a witness.
       Having heard the testimony and argument of counsel, the Court orally denied the
appeal and request for release and ordered the Defendant’s counsel to determine if the
transplant testing could be done in Pocatello. The Court indicated it would file a written
order and for the reasons set forth below, the Court affirms the detention order imposed
by Magistrate Judge Ronald E. Bush at the change of plea hearing held on May 7,
2010 (Docket No. 213) and denies the motion for release.




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                                    BACKGROUND
         Defendant was charged in a Superseding Information (Docket No. 210) with
possession with intent to distribute a mixture of substance containing
methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C). Section
841(b)(1)(C) provides for a sentence of imprisonment of not more than twenty (20)
years.
         On May 7, 2010, Defendant entered a plea of guilty to the Superseding
Information before Judge Bush. Because the offense arises under the Controlled
Substances Act (21 U.S.C. §§ 801 et seq.) and carries a maximum term of
imprisonment of ten (10) years or more, Judge Bush ordered Defendant detained
pursuant to 18 U.S.C. § 3143(a)(2) after finding that he could not meet the conditions
for release set forth in that provision. Judge Bush concluded that he had no discretion
to release Defendant although he indicated that he possibly would release him if he
had the discretion.
         Sentencing is set for July 27, 2010. Based on what he believes to be
exceptional reasons, Defendant seeks review of the detention order pursuant to 18
U.S.C. § 3145(b) and release pending sentencing pursuant to § 3145(c).               The
Government, while not disputing the factual basis of Defendant’s stated justifications
for release, opposes release on the grounds that Defendant has not made the requisite
showing.
                              STANDARD OF REVIEW
         Review of a magistrate judge’s detention order is de novo, but the district court
“is not required to start over in every case, and proceed as if the magistrate’s decision
and findings do not exist.” United States v. Koenig, 912 F.2d 1190, 1191-92 (9th Cir.
1990). The district court must make its own independent determination on the
correctness of the magistrate’s findings without deference to those findings. Id. In


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aid of that determination, the district court may conduct an evidentiary hearing
whether or not new evidence is offered that was not before the magistrate. Id. at 1193.
Finally, the district court’s final decision on the detention issue is to be made without
deference to the magistrate’s decision. Id.
                                    DISCUSSION
A.    Applicable Statutes
      Section 3143(a)(2) provides:
             The judicial officer shall order that a person who has been
             found guilty of an offense in a case described in
             subparagraph (A), (B), or (C) of subsection (f)(1) of section
             3142 and is awaiting imposition or execution of sentence be
             detained unless –
             (A)(I) the judicial officer finds there is a substantial
             likelihood that a motion for acquittal or new trial will be
             granted; or
             (ii) an attorney for the Government has recommended that
             no sentence of imprisonment be imposed on the person; and

             (B) the judicial officer finds by clear and convincing
             evidence that the person is not likely to flee or pose a
             danger to any other person or the community.
18 U.S.C. § 3143(a)(2).
      Defendant pled guilty to an offense described in § 3142(f)(1)(C) in that it is an
offense under the Controlled Substances Act with a maximum term of imprisonment
of ten (10) years or more. There is no dispute that Defendant is not likely to flee or
pose a danger to any other person or the community. However, Defendant fails to
meet the exceptions stated in § 3143(a)(2)(A). Because Defendant pled guilty,
§ 3143(a)(2)(A)(i) is inapplicable. Furthermore, the Government stated at the plea
hearing that they will be recommending that a sentence of imprisonment be imposed.
Therefore, § 3143(a)(2)(A)(ii) is inapplicable as well.
      Perhaps recognizing the futility of being released under § 3143(a)(2), Defendant


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argues that he meets the conditions for release under § 3143(a)(1) because the “other
than” exception applies to his case. Section § 3143(a)(1) provides as follows:


             Release or detention pending sentence.– (1) Except as
             provided in paragraph (2), the judicial officer shall order
             that a person who has been found guilty of an offense and
             who is awaiting imposition or execution of sentence, other
             than a person for whom the applicable guideline
             promulgated pursuant to 28 U.S.C. 994 does not
             recommend a term of imprisonment, be detained, unless the
             judicial officer finds by clear and convincing evidence that
             the person is not likely to flee or pose a danger to the safety
             of any other person or the community if released under
             section 3142(b) or (c). If the judicial officer makes such a
             finding, such judicial officer shall order the release of the
             person in accordance with section 3142(b) or (c).
18 U.S.C. § 3143(a)(1) (emphasis added).
      Defendant contends that if he prevails in his drug quantity argument at
sentencing, the offense level will fall within Zone B which allows a sentence of
probation and that factors considered under 18 U.S.C. 3553(a) will weigh heavily in
favor of a sentence of probation. Defendant theorizes that brings him within the
“other than” exception in § 3143(a)(1).              The Court is not persuaded.

      By its clear terms, § 3143(a)(1) excepts cases that fall within § 3143(a)(2). In
other words, if § 3143(a)(2) applies, as it does here, then § 3143(a)(1) is not even
considered. Furthermore, Defendant’s argument is based purely on speculation that
he will prevail in his drug quantity argument at sentencing. The Court does not have
before it the presentence report or the parties arguments related to drug quantities and
it is premature to address such an argument. Moreover, whether § 3553(a) factors
would lead to a sentence of probation is irrelevant to the stated exception because the
exception refers only to the sentencing guidelines themselves.




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       Because § 3143(a)(1) is inapplicable and § 3143(a)(2) clearly applies, Judge
Bush was correct in imposing an order of detention. However,


               A person subject to detention pursuant to section
               3143(a)(2) or (b)(2), and who meets the conditions of
               release set forth in section 3143(a)(1) or (b)(1), may be
               ordered released, under appropriate conditions, by the
               judicial officer, if it is clearly shown that there are
               exceptional reasons why such person's detention would not
               be appropriate.
18 U.S.C. § 3145(c) (emphasis added).
       There had been some disagreement among district courts as to whether district
court or only courts of appeal may consider exceptional reasons. However, the Ninth
Circuit takes the view of other circuits that have addressed the issue that although the
“exceptional reasons” provision appears in a subsection that applies to appellate
courts, the district court may determine whether there are exceptional reasons
justifying release. See United States v. Garcia, 340 F.3d 1013, 1014 n.1 (9th Cir.
2003). Stated another way, the language in the caption to § 3145(c) (Appeal from a
release or detention order) is trumped by the language of the section itself. United
States v. Rodriguez, 50 F.Supp.2d 717, 719 (N.D. Ohio 1999) (citing United States v.
Carr, 947 F.2d 1239, 1240 (5th Cir. 1991)).
B.     Exceptional Reasons
       Garcia “place[d] no limit on the range of matters the district court may
consider” and counseled that “the court should examine the totality of the
circumstances and . . . determine whether, due to any truly unusual factors or
combination of factors . . . it would be unreasonable to incarcerate the defendant . . .
.” Garcia, 340 F.3d at 1019 (emphasis added).1               However, Garcia concluded:


       1
         Garcia suggested some possible exceptional reasons, some of which are not relevant
here because they address concerns of a defendant who is seeking release pending appeal: (1)

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               Hardships that commonly result from imprisonment do not
               meet the standard [of exceptional circumstances]. The
               general rule must remain that conviction for a covered
               offense entails immediate incarceration. Only in truly
               unusual circumstances will a defendant whose offense is
               subject to the statutory provision be allowed to remain on
               bail pending appeal.2
Id. at 1022 (emphasis added).
       Defendant offers several reasons why he should be released pending sentencing
which the Government claims are either common to many defendants or can be
addressed in jail. The Court has reviewed each reason and comments as follows:
       1.      Defendant performed well on pretrial release. – Many defendants
               perform well on pretrial release. The Court expects nothing less and will
               revoke release for a defendant who does not.
       2.      Defendant is prohibited while incarcerated from taking pain
               medication and continuing physical therapy following knee surgery.
               The Court is unaware of any prohibition in local jails against taking
               prescribed pain medication. Indeed, the Court has taken many pleas
               from incarcerated defendants who are taking prescribed medication for
               pain or other conditions. The testimony of United States Deputy
               Marshal Thompson indicated if there was a need for certain medication,
               medical information could be provided to the Marshal’s office and they
               would ensure Defendant was receiving his necessary medications while
               in custody. Furthermore, the Court sees know reason why Defendant
               would not be permitted to perform any physical therapy exercises
               prescribed by his physician while he is incarcerated and has provided no
               evidence that physical therapy is not provided if medically necessary.


aberrational behavior in reaction to an “unusually provocative circumstance” by a defendant who
has led an otherwise exemplary life; (2) as relevant here, a drug offense that was “sufficiently
dissimilar” from other drug offenses; (3) defendant would have served most or all of his sentence
prior to his appeal being decided; (4) unusual hardships such as a defendant’s “sufficiently
serious illness or injury;” (5) the desirability of maintaining an “uninterrupted course of
treatment;” (6) the nature and strength of the defendant’s arguments on appeal;” (7) whether the
defendant is “exceptionally” unlikely to flee or cause a danger to the community; and (8)
whether the defendant was “unusually” cooperative with the government. Garcia, 340 F.3d at
1019-21.
       2
        Garcia noted that the principles discussed are equally applicable to cases involving
defendants seeking release pending sentencing and those seeking release pending appeal.
Garcia, 340 F.3d at 1015 n.2.

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    3.   Defendant’s orthopedic surgeon plans to perform the same surgery
         on his other knee. The Defendant testified that his doctor would like to
         perform surgery on his other knee, but he did not testify that this surgery
         was medically necessary at this time. The Court is confident the local
         jail facility and the Marshal’s office can arrange for medical care should
         it become necessary as can the Bureau of Prisons after sentencing.

    4.   Defendant’s daughter has begun kidney dialysis and Defendant is
         being considered a potential kidney donor. While this may rise to the
         level of an exceptional circumstance if Defendant were actually qualified
         as a donor for a transplant to occur in the near future, the mere fact that
         he is being considered as a potential donor does not. The Court finds
         that the necessary testing to determine if the Defendant is a potential
         donor can be done in Pocatello and the Marshal’s office has agreed to
         transport the Defendant for necessary testing to be done at Defendant’s
         own expense. If the testing reveals, Defendant is a qualified kidney
         donor, the Defendant can move for reconsideration of this detention
         order.
         Defendant also suggests that his assistance is needed to care for his
         daughter and her children during dialysis treatments. The Daughter
         testified that she has other family members that are able to assist her but
         such immediate family members are not donor candidates based on their
         medical histories. Further, the charges have been pending for quite some
         time during which Defendant could have arranged substitute care. See
         United States v. Bonczek, Slip Copy, 2009 WL 2924220 (S.D.N.Y. Sept.
         8, 2009) (finding defendant’s “personal situation” of being the primary
         caretaker for his ill partner to be typical of many criminal defendants and
         neither remarkable nor uncommon.)
    5.   Defendant’s attempts to cooperate pursuant to the terms of the Plea
         Agreement will be more difficult since agents in Montana will have
         to travel to Pocatello, Idaho, to debrief him. The Government has
         indicated in its response that because of statements made by Defendant,
         the Government is unwilling to make a § 5K1.1 motion. Therefore, this
         issue appears to be moot. In any event, if investigators felt Defendant
         had valuable information to provide, they would no doubt travel to him
         for debriefing or seek a temporary release to cooperate with law
         enforcement. In any event, desire to cooperate with the Government is
         not an exceptional reason for release. See United States v. Miller, 568
         F.Supp.2d 764, 777 (E.D.Ky. 2008) (citing United States v. Douglas,
         824 F.Supp. 98, 99 (N.D.Tex. 1993).
    6.   The presentence investigator is located in Coeur d’Alene and he
         needs to travel there for his PSR interview. – Presentence
         investigators are frequently located in offices some distance away from
         a prisoner. Convenience to a presentence investigator is not a valid
         reason much less an exception reason justifying release and the probation
         office has indicated to the Court that the interview can be telephonically
         if necessary.


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      7.    A trial is set for June 14, 2010 in Helena, Montana, on charges of
            issuing bad checks in which he is asserting an alibi defense and needs
            clear his name. It is not at all unusual for defendants to have state court
            charges pending. It appears from the Order Continuing Jury Trial
            (Docket No. 236-3) attached to Defendant’s supporting memorandum
            that the case has been pending long enough that trial was initially set for
            April 5, 2010. Defendant has had adequate time to try to resolve the
            charges prior to entering his plea of guilty in this case and has not shown
            why he cannot seek a continuance of his state court matters.
      Aside from the possibility of being a kidney donor for his daughter,
Defendant’s reasons do not begin to approach the required showing either alone or in
taken together.    “Numerous common circumstances alone” do not constitute
exceptional reasons. United States v. Green, 250 F. Supp.2d 1145, 1149 (E.D.Mo.
2003) (denying release to defendant who alleged his obligation to his nine children,
success in drug treatment, and attempt to negotiate for continued employment
following treatment). “Mere” or “purely” personal reasons are not exceptional given
that such reasons, including hardship on families and loss of employment, are
common        to   most     defendants.            Id.    (collecting        cases).


                                 CONCLUSION
      Having reviewed the issue of detention pending sentencing de novo, and duly
considered the proffered exceptional reasons for release, the Court affirms the
decision of the Magistrate Judge that detention is mandatory and concludes that
Defendant has not demonstrated exceptional reasons for release pending sentencing.
However, if and when it is determined that Defendant is a suitable kidney donor for
his daughter, Defendant may renew his motion for release pending sentencing
supported by appropriate affidavits.




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                                      ORDER
      NOW THEREFORE IT IS HEREBY ORDERED that Defendant’s Motion for
Release Pending Sentencing (Docket No. 237) pursuant to 18 U.S.C. § 3145(c) and
Notice of Appeal (Docket No. 235) are DENIED. The Court hereby affirms the
detention order imposed by Magistrate Judge Ronald E. Bush at the change of plea
hearing held on May 7, 2010 (Docket No. 213).
      IT IS FURTHER HEREBY ORDERED that the U.S. Marshal’s Service
facilitate any necessary testing to determine Defendant’s suitability as a kidney donor
pending sentencing.



                                              DATED: June 4, 2010



                                              Honorable Edward J. Lodge
                                              U. S. District Judge




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